Case 3:24-cv-00228-KC   Document 14-2   Filed 08/22/24   Page 1 of 9




    EXHIBIT 2
                         Case 3:24-cv-00228-KC        Document 14-2         Filed 08/22/24           Page 2 of 9


          EOUA
                 EMPL
                           U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                                              EI Paso Area Of ce
                                                                                                  100 N. Stanton Street, Suite 600
                                                                                                              El Paso, TX 79901
                                                                                                                 (800) 669-4000
          UNITN.COMMIS                                                                                  Website: www.ceoc.goy



                                   NOTICE OF CHARGE OFDISCRIMINATION
                                             (This Notice replaces EEOC FORM 131)

                                                            09/29/2023

              To: Bradfute Enterprises, LLC
                         4952 Hondo Pass Dr.

                         El Paso, TX 79924


                 This is notice that a charge of employment discrimination has been        led with the EEOC against
              your organization byJose Ochoa under: The Americans With Disabilities Act of 1990 (ADA). The
              circumstances of the alleged discrimination are based on Disability, and involve issues of
              Reasonable Accommodation, Discharge that are alleged to have occurred on or about 03/22/2023.
              The Digital Charge System makes investigations and communications with charging parties and
              respondents more ef cient by digitizing charge documents. The charge is available for you to
              download from the EEOC Respondent Portal, the EEOC's secure online system.
              Please follow these instructions to view the charge within ten (10) days of receiving this Notice:
                    1.    Access the EEOC's secured online systenm at    https://arc.eeoc.gov/rsp/login.jsf
                   2.     Enter this EEOC Charge No.: 453-2023-01414
                   3.     Enter this password: qYON2ydTF
              Once you log into the system, you can view and download the charge, and electronically submit
              documents to EEOC. The system will also advise you of possible actions or responses and identify
              your EEOC point of contact for this charge.
              If you are unable to log into the EEOC Respondent Portal or have any questions regarding it, you
              may send an email to elpasopublic@eeoc.gov.



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                    Case 3:24-cv-00228-KC           Document 14-2      Filed 08/22/24      Page 3 of 9



          Preservation ofRecordsRequirementWhena ChargehasBeenFiled
          The EEOC regulations require respondents to preServe all payroll and personnel records relevant to the
          charge until nal disposition of the charge or litigation. 29 CFR $1602.14. For more information on your
          obligation to preserve records, see https://www.£COL.gOv/employers/recordkeeping-requirements.


          Non-RetaliationRequirements
          The laws enforced by the EEOC prohibit retaliation against any individual because she has led a
          charge, testi ed, assisted or participated in an investigation, proceeding or hearing under these laws.
          Persons ling charges of discrimination are advised of these Non-Retaliation Requirements and are
          instructed to notify the EEOC if any attempt at retaliation is made. For more information, see
          http:/www.eeoc.govlaws/typeslfacts-retal.cfm.


          LegalRepresentation
          Although you do not have to be represented by an attorney while wc hande this charge, you have a right,
          and may wish to retain an attorney to represent you. If you do retain an attorney, please provide the
           attorney's contact information when you log in to the online system.


          Please retain this notice for your records.
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                          Case 3:24-cv-00228-KC             Document 14-2            Filed 08/22/24    Page 4 of 9



                EOUA MPLOYAME         U.S. Equal Employment Pportunity Commission
                                                             El Paso Area Off        600
                                                       100 N. Santon Street Sul
                ORTUND COMMIS                               El Paso, TX 7990
                                                              (800) 669-4000


                Dear Small Business Manager:                                                      agency with primary
                                                                                                              laws we
                The Equal Employment Opportunity Commission (EEOC) is the federal
                responsibility for enforcing our nation's equal employeligion,
                                                                           opportunity (EEO) laws. The
                enforce prohibit job discrimination based on race, color, religion, sex (including on the basis of
                pregnancy, gender identity, or sexual orientation), pregnancy(including pregnancy accommodations),
                                                                            netic information.
                 national origin, age (40 or older), disability, retaliation and8*             from the time a charge of

                The attached Fact Sheet provides an overview of the FEOC's procedures
                                                                             ved.
                employment discrimination is led to the point that it is resole                                a wealth of

                We encourage you to visit our online Small BusinessResourceCenter, which provides
                information designed to help smallbusinesses.We offertipsandshortvideos on key employment topics
                                                                           tion.                                          and
                including what to do when you receive a charge ofdiscrimination

                In most cases, as our     rst step in processing a charge, we offer mediation as a neutral,   voluntary
                con dential way to achieve a mutually satisfactory resolutionfor all parties. Seventy- ve percent of
                charges that are mediated are successfully resolved. In anindependentstudy, 96% of employers who
                tried the EEOC's mediation program said they would use itagain If ue

                In addition to the EEOC representative identi ed on theNoticeofChargeof Discrimination, each of our
                district of ces has a Small Business Liaison to provide technicalassistanceand help employers resolve
                questions about the laws we enforce, our mediation program,and the chargePprocess. You can nd the
                names and contact information of our Small BusinessLiaisons on our weo Ste.

                we encOurage you to contact the Small Business Liaison in vourarea to answer any questiOns you may
                nave and assure you that any inquiry or request for information will not adversely affect the investigaton
                of the charge that has been led.


                Sincerely,

                U.S. Equal Employment Opportunity Commission
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                    Case 3:24-cv-00228-KC               Document 14-2      Filed 08/22/24     Page 5 of 9



                                   Find the Answers at EEOC's Smnall Business Resource Center

           The EEOC's SmallBusinessResourceCenter |0S, EqualEmploymentOpportunityCommission
           (eeoc.gov) (htp:/www.eeOC.gov/employerssmal-business) is lled with useful information for small
           businessesand can connect you with EEOC stat in your area who can help you.

               •   Have a question? Need training for your stajf or one-on-one assistance?
                   To request information about the EE0C, training on federal employment discrimination Jaws or
                   an explanation of the charge process, contact your local EEOC Small Business Liaison. We are
                   here to help.
               •    Want quick information online?
                   The EEOC's Small Business Liaisonshavecreated videos with the small business owner in mind
                   and the simple straightforward information that you need most. For example, you may need to
                   know what questions you shouldn'task in a job interview, and other tips for the hiring process.

                   Also see our Erequently Asked Questions.

                   Need an employment policy orpracticaltips on preventing job discrimination?

                   See 10QuickTips forSmallBusines
               •    Need to know more about EEOC's charge process?

                    We have a video on Responding to aCharge of Discrimination.
               •    What is mediation?

                    The EEOC's mediation program offers a free, voluntary, con dential and informal resolution
                    process for many charges of discrimination. Mediations are conducted by a neutral mediator. If
                     mediation is successful, there is no investigation.

               •    Want information about a speci c topic?

                    Our Resources page explains the types of employment discrimination covered by the EE0C's
                    laws as well as the legal requirements you need to know.

                    We can also direct you to other federal agencies for information on issues such as minimum wage
                    and overtime pay or family and medical leave. The Resources page gives a link to small business
                    assistance from the SBA and provides information on the Small Business Regulatory
                    Enforcement Fairness Act (SBREFA), which allows small businesses to comment on federal
                    agency enforcement actions to the SBA Omoudsman.

            You can order our Publications online free of charge or print them for use. You can also order the
            EEOC's poster, "EEO Is The Law," here.


            For more information and assistance call the EEOC toll-free at 1-800-669-4000 or use our sign
            languageaccess line at 1-844-234-5122(ASL Video Phone and Hard of Hearing callers only.)
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                          Case 3:24-cv-00228-KC            Document 14-2         Filed 08/22/24       Page 6 of 9




                  EaUALAPLOYAME    U.S, Equal Employment Opportunity Comnission

                                            FEDERAL INVESTIGATION:
                                        REQUEST FOR POSITION STATEMENT
                 TUN COMMIS
                                     AND SUPPORTING DOCUMENTARY EVIDENCE
                 The EEOC hereby requests that your organizaion submit within 30 days a Position Statement setting
                 forth all facts which pertain to the allegations in thecharge of discrimination under investigation, as well
                 as any other facts which you deem relevant for the EEOC's consideration.

                 We recommend you review the EEOC's resource gujde on "Effective Position Statements" as you
                 prepare your response to this request.



                 Eact-Based PositionStatement
                  This is your opportunity to raise any and all defenses, legal or factual, in response to each of the
                  allegations of the charge. The position statement should setforth all of the facts relevant to respond to
                 the allegations in the charge, as well as any other facts theRespondent deems pertinent to the EEOC's
                 consideration. The position statement should only refer to, but not identify, information that the
                 Respondent asserts is sensitive medical information, orcon dentialcommercial or nancial information.

                 The EEOC also requests that you submit all documentary evidence you believe is responsive to the
                 allegations of the charge. If you submit only an advocacystatement, unsupported by documentary
                 evidence, the EEOC may conclude that Respondent has no evidence to support its defense to the
                 allegations of the charge.

                 The EEOC may release your position statement and non-con dential attachments to the Charging Party
                 and their representative and allow them to respond to enable the EEOC to assess the credibility of the
                  information provided by both parties. It is in the Respondent's interest to provide an effective position
                 statement that focuses on the facts. The EEOC will notreleasethe Charging Party's response, if any, to
                 the Respondent.

                 If no response is received to this request, the EEOC may proceed directly to a deter:nination on the merits
                 of the charge based on the information at its disposal.

                Signed by anAuthorizedRepresentative
                The Position Statement should be signed by an of cer, agent, or representative of Respondent authorized
                to speak of cially on its behalf in this federal investigation.

                Segregate Con dential Information intaScparatelyDesignatedAttachments
                If you rely on con dential medical or commercial information in the position statement, you should
                provide such information in separate attachments to the position statement labeled "Sensitive Medical
                 Information," "Con dential Commercial or Financial Information," or "Trade Secret Information" as
                applicable. Provide an explanation justifying the con dential nature of the information contained in the
                attachments. Medical information about the Charging Party is not sensitive or con dential medical
                information in relation to the EEOC's investigation.
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                     Case 3:24-cv-00228-KC              Document 14-2      Filed 08/22/24      Page 7 of 9



           Segregate the following     infomation into separate attachments and designate them as follows:

               a.   Sensitive medical information, except the Charging Party's medical information

               b. Social Security Numbers
               C.   Con dential commercial or nancial information
               d. Trade secrets information
               e.   Non-relevant personally identi able intormation of witnesses, comparators or third parties, for
                    example, social security numbers, dates of birth in non-age cases, home addresses, personal
                    phone numbers and email addresses, etc.
               f.   Any reference to charges led against the Respondent by other charging parties

           Requestsfor anExtension
           If Respondent believes it requires additional time to respond, it must, at the earliest possible time in
           advance of the due date, make a written request for extension, explain why an extension is necessary,
           and specify the amount of additional time needed to reply. Submitting a written request for extension of
           time does not automatically extend the deadline for providing the position statement.

           Upload thePositionStatementandAttachmentsinto theRespondentPortal
            You can upload your position statement and attachments into the Respondent Portal using the +    Upload
           Documents button. Select the “Position Statement" Document Type and click the Save Upload button to
           send the Position Statement and attachments to EEOC. Once the Position Statement has been submitted,

           you will not be able to retract it via the Portal.
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                               Case 3:24-cv-00228-KC                          Document 14-2                     Filed 08/22/24            Page 8 of 9

          EEOC Fom 5 (11/09)
                                                                               RCVD by EEOC 07/07/2023
                                                                                                                  Charge Presented To:            Agency(ies) Charge No(s):
                                  Charge of Discrimination
                      This form is affectedby the Privacy Act of 1974. See encosed Privacy At                                FEPA
                               Statement and öther information before completing this form

                                                                                                                             EEOC 453-2023-01414

                                                                       rkforce Commission Civil Rights Division                                                   and EEOC


                                                                                   State or kbcalAgency any

                                                                                                                        Home Phone (Incl. Area Code)           Date of Birth
          Name (indicate Mr., Ms,, Mrs)


                                                                                                                        (915) 504-3593                            1986
          Mr. Jose Ochoa, Jr.
          Street Address                                                                     Cty, State and ZIP Code


          3405 Olynmpic Avenue, El Paso, TX 79904
           Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Commttee, or State or Local Government Agency That I Believe
          Discriminated Against Me or Others. (f more than two, list under PARTICULARSbelow.)
                                                                                                                         No. Employees, Members     Phone No. (Include Area Code)
          Name


          Bradfute Enterprises, LLC                                                                                     100 or More                 (575) 541-0066

          Street Address                                                                     City, State and ZIP Code


          4952 Hondo Pass Drive, El Paso, TX 79924
          DISCRIMINATION BASED ON (Check appropriate box(es) )                                                                      DATE (S) DISCRIMINATION TOOK PLACE
                                                                                                                                        Earliest               Latest

                   RACE               COLOR                    SEX                RELIGION                 NATIONAL ORIGIN          12-2022                03-22-2023

                 XRETALIATION                          AGE        X DISABILITY                    GENETIC INFORMATION


                                    OTHER (Specty)                                                                                                CONTINUING ACTON

          THE PARTICULARS ARE (If additional paper is needed, attach extra sist's)):
          PERSONAL HARM:
          I. On December 2022, Bradfute Enterprises, LLC ("Bradfute Enterprises") interviews me for a position as an Outbound
          Appointment Setter. During the interview, Bradfute Enterprises's Interviewe: receives verbal notice from me that I
          need an accommodation for my disabilities. Speci cally, my disabilities are that I have diabetes, which led to the
           amputation of my right leg in September 2017, leaving me in a wheelchair. Bradfute Enterprises's Interviewer assures me
          that Bradfute Enterprises will provide me with accommodations soI can move around the of ce in my wheelchair.
          During the interview, Bradfute Enterprises hires me as an Outbound Appointment Setter.

          In early January 2023, Bradfute Enterprises accepis mne onto Bradfute Enterprises's premises located at 4952 Hondo Pass
          Drive, El Paso, Texas 79924 ("Premises") to begin working for Bradfute Enterprises. Bradfute Enterprises refuses to
          provide a reasonable accommodation for my disabilities -- diabetesand right leg amputation. The doorways of
          Bradfute Enterprises's Premises are too narrow for me to go through the doorways with my wheelchair. Instead of
           providing me with a reasonable accommodation, Bradfute Enterprises requires me to hop on one leg through the
          doorways, which is dangerous and humiliating. Bradfute Enterprises chooses to line the walls of Bradfute Enterprises's
          Premises with vacuum cleaners which prevent me from accessing the hallway or restroom with my wheelchair. The
          restroom at Bradfute Enterprises's Premises is not wheelchair accessible which prevents me from entering the restroom
          with my wheelchair. Throughout January 2023, multiple employees of Bradfute Enterprises -- including Bradfute
          Enterprises Supervisor Brandon, whose last name I do not recall -- receive my repeated requestsfor a reasonable
           accommodation to allow me to use Bradfute Enterprises's doorways, hallway, and restroom with my wheelchair. One
          reasonable accommodation I request is for Bradfute Enterprises to remove the vacuum cleaners lined along the hallway
          for Bradfute Enterprises's Premises. Bradfute Enterprises continues to refuse to provide a reasonable
          accommodation for my disabilities.
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                              Case 3:24-cv-00228-KC                      Document 14-2                Filed 08/22/24              Page 9 of 9
           On January 31, 2023, Bradfute Enterprises is aware that I attempt to use the restroom on Bradfute Enterpriscs's Premises.
           On January 31, 2023, Bradfute Enterprises is aware that I cannot enter the restroom with my wheelchair because
            Bradfute Enterprises refuses to provide me with a rcasonable accommodation, refuses to make the restroom or doorways
            whcclchair accessible, and refuses to remove the vacuum clcancrs which line the hallway on Bradfute Enterprises's
            Premises and block whcclchair access. On January 31, 2023, Bradfute Enterprises is aware that I must enter the restroom
           by hopping on one leg while placing one hand on the restroom doorframe and onc hand on the restroom sink in order to
           stcady myself and mancuver into the restroom becausc my right leg was amputated and the restroom is not wheelchair
           accessible. On January 31, 2023, while my hand is on the restroom sink, Bradfute Enterprises's restroom sink breaks off
           the wall causing me along with the sink to crash to the ground causing me terrible injuries. On February 1, 2023,
            Bradfute Enterprises becomes aware that I had go to the hospital to seek treatment for the injuries I sustained from the
           January 3 1, 2023 fall caused by Bradfute Enterprises's repeated refusals to provide me with any reasonable
            accommodation to mny disabilitics. On Fcbruary 1, 2023, Bradfute Enterprises Supervisor Brandon receives notice that
           the hospital determines I likely have a torn rotator cuft in my right shoulder due to the fall in the bathroom on January
           31, 2023, and is schecduling an MRI to con rm, but released me to return to work in two days.

           Beginning on February I, 2023, and continuing through March 2023, Bradfute Enterprises Supervisor Brandon tells me
          over the phone and through textmessagesthat Bradfute Enterprises will not allowmneto return to work. On March 8,
           2023, Bradfute Enterprises Supervisor Brandon receives my notice thatI have received a prosthetic leg, no longer require
          a wheelchair, and am able to return to work. On March 14 and 22, 2023, Bradfute Enterprises Supervisor Brandon tells
          me over the phone that Bradfute Enterprises will not allow me to return to work, that I should "look elsewhere", and that
          there are "no hard feelings".

          See the attached factual chronology.


          RESPONDENT'S REASONS FOR ADVERSE HARM:
          II. My employer discriminated against because of my disability, or because I was "regarded as" having a disability. My
          employer also retaliated against me for requesting a reasonable accommodation for my disability.

          DISCRIMINATORY STATEMENT:
           III. I believe that I have been discriminated against because of my disability, or because I was "regarded as" having a
           disability, in violation of the Americans with Disabilities Act of 1990, as amended. I believe that I was retaliated against
          for requesting a reasonable accommodation for my disability, in violation of the Americans with Disabilities Act of 1990,
          as amended.


          I want this charge led with both the EEOC and the State or local Agency. if any. I   NOTARY - When necessary for State and Local Agency Requirements
          will advise the agencies if I change my address or phone number and I will



                                                                                                              Obea
          cooperate fuly with them in the processing of my charge in accordance with their
          procedures.

                                                                                               I swear or af rm that I have read the above charge and that it is true
          I declare under penalty of perjury that the above is true andcorrect.                to the best of my knowledgenformation     and belief.

                                                                                               sốNTURE OFCỐMPEAKANT




                                                                                                                           ,
                                                                                               SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                               (month, day yea)

                       Date                            ChargingPahy gnature                    Jdg 2023                                     TANIAOLVERA
                                                                                                                                     Notary Public. State of Texas
                                                                                                                              A       Comm. Expires 05-17-2027
                                                                                                                           OF            Notary ID 129950132
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